                  Case 1:17-cv-01376-BAH Document 281 Filed 07/15/19 Page 1 of 1
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                                                                                                         Rev. 6/2018


                    UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                             FOR THE DISTRICT OF COLUMBIA

Schooley et al.

_________________________________________
                        Plaintiff(s)

        vs.                                                        Civil Action No.: 1:17-cv-1376-BAH
Islamic Republic of Iran et al.

_________________________________________
                        Defendant(s)


                                  AFFIDAVIT REQUESTING FOREIGN MAILING

        I, the undersigned, counsel of record for plaintiff(s), hereby request that the Clerk mail a copy of the
default judgment
summons    and complaint (and notice of suit, where applicable) to (list name(s) and address(es) of defendants):
1. ISLAMIC REPUBLIC OF IRAN, 2. IRANIAN MINISTRY OF INFORMATION AND SECURITY and
3. IRANIAN ISLAMIC REVOLUTIONARY GUARD CORPS AKA THE PASDARAN
The address for all defendants is as follows:
Mohammad Javad Zarif, Minister of Foreign Affairs, Ministry of Foreign Affairs
Khomeini Avenue, United Nations Street
Tehran, Iran

by: (check one)                ❑      certified or registered mail, return receipt requested
                               ❑✔
                                      DHL
                               ❑      Fed Ex
pursuant to the provisions of: (check one)
                               ❑      FRCP 4(f)(2)(C)(ii)
                               ❑✔     28 U.S.C. § 1608(a)(3)
                               ❑      28 U.S.C. § 1608(b)(3)(B)
                               ❑      28 U.S.C. § 1608(a)(4)

       I certify that this method of service is authorized by the domestic law of (name of country):
 ISLAMIC REPUBLIC OF IRAN                                                    , and that I obtained this information
by contacting the Overseas Citizens Services, U.S. Department of State.

                                                                      /s/ Joshua M. Ambush
                                                                             (Signature)
                                                            Joshua M. Ambush
                                                            LAW OFFICES JOSHUA M. AMBUSH, LLC
                                                            1726 Reisterstown Road
                                                            Suite 206
                                                            Baltimore, MD 21208
                                                                         (Name and Address)
